                    IN THE UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF MISSOURI (Kansas City)


      Sara Dobbins,                             )
                                                )
                     Plaintiff,                 )
                                                )   Case No. 4:23-cv-00632-LMC
                                                )
      v.                                        )
                                                )
      Thomas J. Vilsack,                        )
      Secretary, U.S. Department of             )
      Agriculture,                              )
                                                )
                     Defendant.                 )


CERTIFICATE OF SERVICE FOR PLAINTIFF’S INITIAL RULE 26(A) DISCLOSURES
      I hereby certify that on May 6, 2024, I electronically submitted to Defendant’s
attorney, Elizabeth D Hatting, United States Attorney’s Office—KCMO,
elizabeth.hatting@usdoj.gov, Plaintiff’s initial Rule 26(A) disclosures.


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           Case 4:23-cv-00632-LMC Document 14 Filed 05/06/24 Page 1 of 1
